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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

RAYNE UPTON, individually and   *   CIVIL ACTION NO. 21-407
on behalf of her minor daughter, G.H.
                                *
                                *   SECTION: “J”
VERSUS                          *   JUDGE BARBIER
                                *
RODNEY VICKNAIR, et al          *   MAG. DIV. (4)
                                *   MAGISTRATE JUDGE ROBY
                                *
****************************************************
                     WITNESS AND EXHIBIT LIST OF
    DEFENDANTS SHAUN FERGUSON AND THE CITY OF NEW ORLEANS

          Defendants, Shaun Ferguson and the City of New Orleans (the “City Defendants”), file the

following list of all witnesses who may or will be called to testify at trial and a list of all exhibits

which may or will be used at trial pursuant to the Court’s Order entered on March 29, 2023, at

Doc. 84.

     I.      EXHIBITS

 Number           Description

 1                CNO 1--281

 2                CNO 282-3390

 3                CNO 3391-3411

 4                Body Worn Camera video - "860_Olga" - "5/26/2020, AXON BODY 2

                  X91350159," (13:12 min.)

 5                Body Worn Camera video - "860_Olga_Street" - "5/26/2020, AXON BODY

                  2 X81315372," (8:52 min.)

 6                OPCD records of dispatches to 860 Olga by NOPD from 5/26/2020 to

                  9/25/2020, CNO 3391-3411



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7            PIB Short Forms, CNO 3567 - 3743

8            Vicknair background investigation, CNO 3887 - 4042

9            Vicknair Employee Summaries, CNO 4043 - 4080

10           Vicknair training records, CNO 0001 - 0024

11           NOPD Operations Manual, Ch. 42.2, Rev. 05/27/2-18, CNO 0025 - 0088

12           NOPD Operations Manual, Ch. 31.1 - Recruitment (Eff. 4/28/201), CNO 381

             - 385

13           NOPD Operations Manual - Policy 1000 - Recruitment - REPLACED on

             4/28/201, CNO 386-388

14           NOPD Operations Manual - Ch. 32.1 - Personnel Hiring Selection - Eff.

             4/8/2018, CNO 389 - 390

15           NOPD Operations Manual - Policy 1001 - PR1001 - Personnel Hiring

             Selection, REPLACED 4/8/2018, CNO 391 - 397

16           NOPD Operations Manual - Policy 1002 - Evaluation of Employees -

             REPLACED 10/1/2017, CNO 398 -401

17           NOPD Operations Manual - Ch. 33.1 - Training and Career Development -

             Eff. 6/18/2017, CNO 402 - 418

18           NOPD Operations Manual - Policy 208 - PR208 - Training, REPLACED

             6/18/2017, CNO 419 - 438

19           NOPD Operations Manual - Ch. 33.4.3 - Field Training Program - Eff.

             9/2/2018, CNO 439 - 445

20           NOPD Operations Manual - Policy 436 - Field Training Program,

             REPLACED /2/2018, CNO 446 - 449


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21           NOPD Operations Manual - Ch. 35.1.9 - INSIGHT, Eff. 3/18/2018, CNO 450

             - 463

22           NOPD Operations Manual - Ch. 35.1.9 - INSIGHT, Eff.11/15/2019, CNO

             464 - 477

23           NOPD Operations Manual - Ch. 42.2 - Sexual Assault - Eff. 5/27/2018, CNO

             478 - 484

24           NOPD Operations Manual - Ch. 42.2 - Sexual Assault - Eff. 11/1/2015, CNO

             485 - 490

25           NOPD Operations Manual - Ch. 42.2.1 - Misd. Sexaual Battery- Eff.

             5/27/2018, CNO 491 - 493

26           NOPD Operations Manual - Ch. 42.19 - Child Abuse - Eff. 3/12/2017, CNO

             494 - 501

27           NOPD Operations Manual - Policy 330 - PR330 - Child Abuse Reporting

             REPLACED 3/12/2017, CNO 502 - 510

28           NOPD Operations Manual - Ch. 44.1 - Child and Dependent Adult Safety,

             Eff. 4/2/2017, CNO 511 - 516

29           NOPD Operations Manual - Policy 380 - PR380 - Child and Dependent

             Adult Safety, REPLACED 4/2/2017, CNO 517 - 521

30           NOPD Operations Manual - Ch. 55.1 - Victim and Witness Assistance, Eff.

             12/2016, CNO 522 - 531

31           NOPD Operations Manual -Policy 336 - PR336 - Victim and Witness

             Assistance, RE 12/18/2016, CNO 532 - 540




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32           NOPD Operations Manual - Ch. 82.3.6 - Criminal History Record

             Information , Eff. 7/6/2021, CNO 541-545

33           NOPD Operations Manual - Ch. 82.3.6 - Criminal History Record

             Information , Eff. 12/17/2017, CNO 546 - 550

34           Records from the Office of the Independent Police Monitor, CNO 552 - 562

35           Vicknair's Training records - CNO 0001 - 0024

36           Vicknair's HR records - CNO 111 - 280

37           OPCD records - CNO 0282-0285

38           NOPD - Daily Lineup and other records - 1st District, 2nd Platoon, CNO 286

             - 342

39           NOPD - Trip Sheets - 1st District, 2nd Platoon, CNO, CNO 693 - 3380

40           Investigation file on E-32154-50 (5-25-2020 assault on a minor), CNO 343-

             380

41           Initial Complaint - PIB 2020-0484-P, CNO 661-670

42           Investigative Report - PIB 2020-0484-P, CNO 673-692

43           Exhibits to Investigative Report - PIB 2020-0484-P, CNO 565-660

44           Notice of Disposition, CNO 671-672

45           Vicknair Resignation, CNO 3381

46           Video of Sept. 25, 2020, Forensic Interview of G.H.

47           Video of May 25, 2020, Forensic Interview of G.H.

48           E-32154-20 dispatch. Mp3

49           E-32154-20.mp3

50           860_Olga-2 Vicknair Exhibit H.mp4


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51           2020-0484-P Exhibit E.pdf (Photo of Defendant Vicknair with G.H.)

52           2020-0484-P Exhibits.pdf

53           2020-0484-P Initial Complaint.pdf

54           2020-0484-P Notice of Disposition.pdf

55           2020-0484-P Signed Investigation.pdf

56           Investigation file on E-32154-20 (5-25-20 Assault

57           (Exhibit D) Reign … Interview.WMA

58           (Exhibit F) Video provided by .mp4

59           (Exhibit J) Control Call.WMA

60           860_OLGA_STREET-2.mp4

61           860_OLGA_STREET-3.mp4

62           860_OLGA_STREET.mp4

63           860_Olga-2 Vicknair Exhibit H.mp4

64           860_Olga-2.mp4

65           860_Olga.mp4

66           Children’s Hospital Medical Records, CH0001-2368

67           Children’s Bureau Treatment Records / Metanoia Records, CNO 3391 -

             3437, 3438-3476, 3477-3514

68           NOPD Personnel File of Defendant Rodney Vicknair

69           PIB Officer Complaint History Short Report for Defendant Rodney

             Vicknair

70           NOPD BRADY LIST-GIGLIO LIST 4.26.2021 (2)

72           Transcripts of all depositions taken in this matter, and exhibits there-to


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73                 All discovery responses in this matter and documents produced in discovery

74                 Any document listed or used as an exhibit by any other party. Any document

                   needed for impeachment.

75                 NOPD Consent Decree, USA v. City of New Orleans, 12-cv-1924 | Eastern

                   District of Louisiana | United States District Court (uscourts.gov)

76                 NOPD training materials provided to Vicknair and with respect to policies

                   cited above.



     II.      WITNESSES

           A. City Defendants’ Will-Call:

     1. Capt. Precious Banks

              a. Contact through City Attorney;

              b. Testimony will relate to NOPD Public Integrity Bureau (“PIB”) investigation of

                  Defendant Rodney Vicknair (“Vicknair”), Vicknair’s work history and NOPD

                  discipline history, discipline history of other NOPD officers relevant to sexual

                  assault and child abuse, and NOPD policy, procedures, and practices related to PIB

                  and discipline of officers.

     2. Capt. Bruce Haney

              a. Contact through City Attorney;

              b. Testimony will relate to Vicknair’s training history with NOPD, Vicknair’s

                  appointment and history as a field training officer, NOPD’s training of officers,

                  including training relating to sexual assault, child abuse, crisis intervention,




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          community policing, and supervision and complaint reporting, and NOPD policy,

          procedures, and practices.

3. Capt. Lejon Roberts

      a. Contact through City Attorney;

      b. Testimony will relate to Vicknair’s employment history with NOPD, NOPD’s

          supervision of Vicknair, Vicknair’s work as an NOPD officer from May to

          September 2020, events relating to Vicknair’s arrest, emergency suspension, and

          termination of his employment with NOPD, and NOPD policy, procedures, and

          practices.

4. Det. Kimberly Wilson

      a. FBI Child Exploitation and Human Trafficking, 2907 Leon C. Simon Blvd., New

          Orleans, LA 70126;

      b. Testimony will cover facts and circumstances related to NOPD’s investigation of

          G.H.’s sexual assault on May 25, 2020, and NOPD policy, procedures, and

          practices related thereto.

5. Lt. Nicole Powell

      a. Contact through City Attorney;

      b. Testimony will relate to the NOPD policy, procedures, and practices relating to

          hiring, supervision and termination of NOPD officers and Vicknair.

6. Lt. Lawrence Jones

      a. Contact through City Attorney

      b. Testimony will relate to the PIB investigation and discipline of Vicknair, and

          NOPD policy, procedures, and practices related to the same.



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B. City Defendants’ May-Call:

1. Plaintiff, G.H.

       a. Contact through undersigned counsel;

       b. Testimony may relate to facts alleged in her complaint and other causes of the

           damages alleged in her complaint.

2. Rayne Upton

       a. 330 Jewel St., Unit 2C, New Orleans, LA 70124;

       b. Testimony may relate to facts alleged in the complaint, other causes of damages

           alleged in her complaint, and credibility of G.H.

3. Officer Chris Carkum

       a. Contact through City Attorney

       b. Testimony may relate to his knowledge of Vicknair’s work as an NOPD officer.

4. Officer Casey Riley

       a. Contact through City Attorney

       b. Testimony may relate to his knowledge of Vicknair’s work as an NOPD officer.

5. Officer Michelangelo Carroll

       a. Contact through City Attorney

       b. Testimony may relate to his knowledge of Vicknair’s work as an NOPD officer.

6. Sgt. David Barnes

       a. Contact through City Attorney;

       b. Testimony may cover Vicknair’s employment history with NOPD and NOPD

           policy, procedures, and practices.

7. NOPD Superintendent, Anne Kirkpatrick



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       a. Contact through City Attorney

       b. Testimony may cover NOPD’s policies, practices and procedures.

8. Stella Cziment, Office of the Independent Police Monitor.

       a. Office of Independent Police Monitor, 2714 Canal Street, Suite 201, New

           Orleans, LA 70119.

       b. Communications from Plaintiff’s mother and / or counselors regarding allegations

           in this case.

9. Andrea Wright, LCSW-BACS

       a. W. Judge Perez Drive, Chalmette LA 70043

       b. Testimony may relate to facts alleged in the complaint, other causes of G.H.’s

           alleged damages, and issues relating to credibility of G.H. and her mother.

10. Any witness listed by any other party;

11. All witnesses referred to or identified in any party’s responses to interrogatories or other

   written discovery;

12. Impeachment witness(es);

13. Any witness necessary to authenticate any document and/or exhibit offered into evidence;

14. Any witness identified in any discovery responses or documents produced or obtained in

   discovery;

15. The City Defendants reserve the right to supplement this list with reasonable notification

   to opposing counsel.




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                               Respectfully submitted,

                               /s/ James M. Roquemore_________________
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                               Shaun Ferguson, Superintendent of the New Orleans
                               Police Department




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